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                                                           Case 2:15-cv-00280-KOB                    ! 11/07/14
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                                                roved by the Judicial Conference of the Uruted States m September 1974, 1s required for the use of the Clerk of Court forthe
                                                                                                                                                                                                                                                   Page 1 of 25         ~a~::s ~i:d~a~ ~~
purpose of initiating the civil d ~s~$ciJi      . INSTRUCTIONS ON NEXT PAGE OF THIS FORM)                                                                              (j'i '~                                                                                         11                           ' {;) .,
I. (a) PLAINTIFFS                     ,":". t~ ~~ ~~./)                                                                                                                      DEFENDANTS                                                                                                                      o1;,,
                Lutz, William, individually and on ~alf of all others similiarly situated,                                                                                   Community Health Systems, Inc. and Community Health Systems Professional
                                                                                                                                                                             Services Corporation



      (b) County of Residence of First Li>ted Plaintiff _M_o~n~t~go~m~e'Y~-----­                                                                                              County of Residence of First Listed Thfendant
                                                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                                                                           (IN U.S. PLAIN17FF CASES ONLY)
                                                                                                                                                                              NOTE:                                         TN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                                                                            THE TRACT OF LAND fNVOL VED.

      ( C) Attorneys (Firm Name,                       Address, and Telephone Number)                                                                                          Attorneys (If Known)
                Brian D. Penny, Mark S. Goldman, Laura K. Mummert, Douglas J. Bench
                Goldman Scarlato & Penny, P.C
                I 0 I E. Lancaster Avenue, Suite 204
                Wayne, PA 19087
                484-342-0700
II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                                                                       Ill. CITIZENSHIP OF P~CIPAL PARTIES (Place an "X" in One Box for Plaintiff

                                                                                                                                                                                                                                                                                                                     8
                                                                                                                                                                      (For Diversity Cases On/                                                                                              and One Box for Defendant)
 0 I       U.S. Government                                0    3 Federal Question                                                                                                                                     P               DEF                                                                  PTF      DEF
              Plaintiff                                            (U.S. Government Not a Party)                                                             Citizen of This State                                    181             0 I             Incorporated or Principal Place                       0 4      0 4

                                                    ~ Diversity
                                                                                                                                                                                                                                                        of Business In This State
 0 2 U.S. Government                                                                                                                                         Citizen of Another State                                 0     2          0       2       Incorporated and Principal Place                       0      5    1815
        Defendant                                   ~                 (Indicate Citizenship of Parties in Item Ill)                                                                                                                                       of Business In Another State
                                                                                                                                                             Citizen or Subject of a                                  03               0       3      Foreign Nation                                          0      6    0 6
                                                                                                                                                               Foreign Country
 IV. NATURE OF SUIT                                           (Place an "X" in One Box Only)
l'i •'::t.::t!!i:Bgi~~m:coN:ti~<mi™~~~llmlr~:l:!ffii ~!ti!l,'!'i;l!~J!!!liiill.!!11!11u11~~~~1tilU~Wf.,Ji!~!!niJ~'tO'RlfS~!~1!!!~~,~Wi~iWi\iiili!~rii,!:iii~i!l.iiiii\!lfi~!l!'I! !:&!iifF(!iRilEJ'iii'()REIBEN*C:T:¥!1!,~i! ~iji~~'f!i!Jiii\'f'i!BlNN~Um'C!Wiiii~iill!il!i!!fiH! ~~iil/!~[()'FHE'Ri:STA:tr10:tiESi~.i!f~imi!lll!I
 0    110 Insurance                                          PERSONAL INJURY              PERSONAL INJURY                                                    0 625 Drug Related Seizure                                      0 422 Appeal 28 USC 158                                       0     375 False Claims Act
 0    120 Marine                                           D  3 IO Airplane             D 365 Personal Injury -                                                    of Property 21 use 881                                    D 423 Withdrawal                                              0     400 State Reapportionment
 0    130 Miller Act                                       0 315 Airplane Product             Product Liability                                              0690 Other                                                                    28    use 157                                   0     410 Antitrust
 0    140 Negotiable Instrument                                     Liability           0 367 Health Care/                                                                                                                                                                                 0     430 Banks and Banking
 0    150 Recovery of Overpayment                          D 320 Assault, Libel &             Pharmaceutical                                                                                                                :~m!!!i!P.ROREltiWii!ruems'!i~~!i!!iif~i                       O     450 Commerce
          & Enforcement of Judgment                                 Slander                   Personal Injury                                                                                                                0 820 Copyrights                                              0     460 Deportation
 0    151 Medicare Act                                     0 330 Federal Employers'           Product Liability                                                                                                              0 830 Patent                                                  0     470 Racketeer Influenced and
 0    152 Recovery of Defaulted                                     Liability           0 368 Asbestos Personal                                                                                                              0 840 Trademark                                                         Corrupt Organizations
          Student Loans                                    0 340 Marine                        Injury Product                                                                                                                                                                              0     480 Consumer Credit
          (Excludes Veterans)                              0 345 Marine Product                Liability                                                     ii~~!rli!!l!!ii!iiilH~l~illf;Fi'.&.IB(l)Rilftlm;~~m1•i!!lii!i.i'i\!!i \;i!\n,;Sb(illl\JiJoSE"lfilt:i!RIEfi!¥i!i<'!!i'!i!IT:i!~i 0   490 Cable/Sat TV
 0    153 Recovery of Overpayment                                   Liability            PERSONAL PROPERTY                                                    0710 Fair Labor Standards                                      0 861 HIA (1395ff)                                            0     850 Securities/Commodities/
          of Veteran's Benefits                            0 350 Motor Vehicle          0 370 Other Fraud                                                            Act                                                     0 862 Black Lung (923)                                                  Exchange
 0    160 Stockholders' Suits                              0 355 Motor Vehicle         tj71 Truth in Lending                                                  0720 Labor/Management                                          0 863 DIWC/DIWW (405(g))                                      0     890 Other Statutory Actions
 0    190 Other Contract                                           Product Liability       80 Other Personal                                                         Relations                                               0 864 SSID Title XVI                                          0     891 Agricultural Acts
 0    195 Contract Product Liability                       0 360 Other Personal               Property Damage                                                 0 740 Railway Labor Act                                        0 865 RSI (405(g))                                            0     893 Environmental Matters
 0    196 Franchise                                                Injury                 385 Property Damage                                                 0751 Family and Medical                                                                                                      0     895 Freedom of Information
                                                           0 362 Personal Injury-             Product Liability                                                      Leave Act                                                                                                                       Act
                                                                   Medical Malpractice                                                                        0 790 Other Labor Litigation                                                                                                 0     896 Arbitration
F :;;:'::illi[j;!~ll;:llRO.llERli¥.'ii!ilJ~~jJ!illl; !f.{ij\i~(;lYJll~J.UGlfliS'li!lii!~ltffi!i! ii.!'.r.JUS!il!N.ERl!l!E!J.!l!fJ:@l'l!S!irri!!               0 791 Employee Retirement                                     l!ffi!!i!tfJP.liil&\Q',Jl)~\\SJ:il11S\~li!i1~ 0                      899 Administrative Procedure
 0 210 Land Condemnation                                   D 440 Other Civil Rights     Habeas Corpus:                                                              Income Security Act                                      0 870 Taxes (U.S. Plaintiff                                             Act/Review or Appeal of
 0 220 Foreclosure                                         0 441 Voting               0 463 Alien Detainee                                                                                                                         or Defendant)                                                     Agency Decision
 0230 Rent Lease & Ejectment                               0 442 Employment           0 510 Motions to Vacate                                                                                                                0 871 IRS-Third Party                                          0    950 Constitutionality of
 0 240 Torts to Land                                       0 443 Housing/                   Sentence                                                                                                                               26 USC 7609                                                       State Statutes
 0 245 Tort Product Liability                                    Accommodations       0 530 General
 O 290 All Other Real Property                             D 445 Amer. w/Disabilities 0 535 Death Penalty                                                    1mi!!i!;!!!!~~-•lMMIQm\ifJ(!)N!,!!li!!!!!li!!ili!1m
                                                                 Employment             Other:                                                                0'1t>L Naturahzat10n Apphcat10n
                                                           O 446 Amer. w/Disabilities O 540 Mandamus & Other                                                  0465 Other Immigration
                                                                 Other                0 550 Civil Rights                                                             Actions
                                                           0 448 Education            0 555 Prison Condition
                                                                                      0 560 Civil Detainee -
                                                                                            Conditions of
                                                                                            Confinement
          ORIGIN (Place an "X" in One Box Only)
           Original   D 2 Removed from D                                                     3     Remanded from                                 04           Reinstated or                     D         5 Transferred from                            D        6      Multidistrict
            Proceeding                             State Court                                     Appellate Court                                            Reopened                                      Another District                                            Litigation
                                                                                                                                                                                                                 (specify)
                                                               Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
  VI. CAUSE OF                                                 28 u.s.c. § 1332(d)(2)
  ACTION                                                       Brief description ofcause:
                                                               Identity Theft and Data Breach
  VII. REQUESTED IN                                            ~ CHECK IF THIS IS A CLASS ACTION                       DEMAND$                                      CHECK YES only if de1fande~ in complaint:
       COMPLAINT:                                                      UNDER RULE 23, F.R.Cv.P.                                                                                                                                                    JURY DEMAND:                                  ( 181Y{s       0    No

  VIII. RELATED CASE(S)
                                                                    (See instructions):
        IF ANY                                                                                               JUDGE

  DATE                                                                                                        SIGNATURE OF ATTOR

   11/07/2014                                                                                                                   ~
   FOR OFFICE USE ONLY

       RECEIPT#                                      AMOUNT                                                           APPL YfNG IFP                                                                     JUDGE
                                                                                                                                                                                                                     NOV                         1 10114,
                                                                                                                                                                                                                                                                       MAG.JUDGE
                           Case 2:15-cv-00280-KOB Document 1 Filed 11/07/14 Page 2 of 25
                                                             UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA - DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.                                                                                                       t,1 ;:;]
                                                                                                                                    0 ) (l. 1
                                                                                                       · · ~·P             i) &~ cQJ ~C)
AddressofPlaintiff:     4406 B r i a r H i l l East, Lafayette H i l l , PA 19444
AddressofDefendant:          4000        Meridian Blvd.,                      Franklin,               TN 37067
PlaceofAccident,IncidentorTransaction:          4406        Briar Hill               East,          Lafayette               Hill,         PA       19444
                                                                        (Use Reverse Side For Additional Space)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning I 0% or more of its stock?
 (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.l(a))                                     YesD     NoD

Docs this case involve multidistrict litigation possibilities?                                                                             NoD
RELATED CASE, IF ANY:
Case Number: _ _ _ _ _ _ _ _ _ _ _ Judge _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date T e r m i n a t e d : - - - - - - - - - - - - - - - - - - -

Civil cases are deemed related when yes is answered to any of the following questions:

I. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                                YesD      No~
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?
                                                                                                                                YesD      No~
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
      terminated action in this court?                                                                                           YesD       Nol&

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                 YesD       No~

CIVIL: (Place     t/ in ONE CATEGORY ONLY)
A. Federal Question Cases:                                                                               B. Diversity Jurisdiction Cases:
 1. o Indemnity Contract, Marine Contract, and All Other Contracts                                       1.   D   Insurance Contract and Other Contracts
 2.    D   FELA                                                                                          2.   D   Airplane Personal Injury
 3. o Jones Act-Personal Injury                                                                          3.   D   Assault, Defamation
 4. o Antitrust                                                                                          4.   D   Marine Personal Injury
 5. o Patent                                                                                             5.   D   Motor Vehicle Personal Injury
 6. o Labor-Management Relations                                                                         6.   D   Other Personal Injury (Please specify)
 7. D Civil Rights                                                                                       7. o Products Liability
 8. o Habeas Corpus                                                                                               Products Liability -      Asbestos
 9. o Securities Act(s) Cases
I 0. D Social Security Review Cases
11. o All other Federal Question Cases
           (Please s p e c i f y ) - - - - - - - - - - - - - - - - - - -
                                                                                                         \J. M All other Diversity Cases
                                                                                                                  (Please specify) Ideni t y
                                                                                                                                    data
                                                                                                                                                       theft/
                                                                                                                                                  breach



                                                                 ARBITRATION CERTIFICATION
                                                                          (Check Appropriate Category)
I,'---''---'-1;;.;:....--D---=.--P_e_n_n_.___ _ _ _ _ _ __, counsel of record do hereby certify:
         Purs ant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,           0 exclusive of interest and costs;
     o Relief other than monetary damages is sought.

                                                                                                                                     86805
                                                          Attorney-at-Law                                                          Attorney I.D.#
                                         NOTE: A trial de novo will be a trial by jury only ifthere has been compliance with F.R.C.P. 38.

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.

DATE: _\l..__{     {p~/(_4_ _
                                                                                              NOV 71014
                                                                                                                                      Attorneyl.D.#
CIV. 609 (5/2012)
      Case 2:15-cv-00280-KOB Document 1 Filed 11/07/14 Page 3 of 25



                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                    CASE MANAGEMENT TRACK DESIGNATIQN FORM

                                                                             C1VIL ACTION
   William Lutz, et al.
                       v.                                                       1.4            s43:3
   Community Health Systems,
    Inc., et al.                                                             NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ I :03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus-Cases brought under 28 U.S.C. § 2241 through§ 2255.                               ( )
(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                     )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.         )

(d) Asbestos -Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                           ( )

(e) Special Management- Cases that do not fall into tracks (a) through (d) that are


                                                                                                 (0
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this fonn for a detailed explanation of special
    management cases.)

(f) Standard Management - Cases that do not fall into any one of the other tracks.                  ( )

                                 ~ Q,fv\
   11/7/14                      Brian D. Penny                        Plaintiff
Date                               Attorney-at~law                     Attorney for
   484-342-0700                484-580-8747                           penny@gskplaw.com
Telephone                          f'AX Number                          E-Mail Address


(Civ. 660) lO!ll!




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           Case 2:15-cv-00280-KOB Document 1 Filed 11/07/14 Page 4 of 25

                        B
                      IN THE UNITED STATED DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


WILLIAM LUTZ, individually and on behalf of
all others similarly situated,
                                                                      14
                      Plaintiff,                           Case No.

       v.
                                                           COMPLAINT - CLASS ACTION
COMMUNITY HEALTH SYSTEMS, INC.,
a Delaware corporation, and COMMUNITY                      JURY TRIAL DEMANDED
HEALTH SYSTEMS PROFESSIONAL
SERVICES CORPORATION, a Delaware
Corporation,
                                                                                  FILED
                                                                                 NOVO 7 2014
                      Defendants.
                                                                               MICHAB.E. KUNZ. an
                                                                               By.         Dep. Ciak
       Plaintiff William Lutz, on behalf of himself and all other similarly situated, by and

through his attorneys, brings this action against Defendants Community Health Systems, Inc.;

and Community Health Systems Professional Services Corporation; and hereby alleges as

follows:

                                           PARTIES

       1.       Plaintiff William Lutz resides in, and is a citizen of, the Commonwealth of

Pennsylvania.

       2.       Defendant Community Health Systems, Inc. (hereinafter "CHS") is a Delaware

corporation with its principal place ofbusiness in Tennessee. Defendant, upon information and

belief, does business in Pennsylvania, as well as 28 other states. CHS is the parent company that

owns and operates, through subsidiaries, over 200 general acute care hospitals in 29 states with

approximately 31,000 licensed beds.
         Case 2:15-cv-00280-KOB Document 1 Filed 11/07/14 Page 5 of 25




        3.      Defendant Community Health Systems Professional Services Corporation

(hereinafter "CHSPSC") is a Delaware corporation with its principal place of business in

Tennessee. Upon infonnation and belief, CHSPSC does business in Pennsylvania as well as 28

other states.

                                  JURISDICTION & VENUE

        4.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2),

because the matter in controversy exceeds the sum or value of $5,000,000, exclusive of interest

and costs, and it is a class action brought by citizens of a State that is different from the State

where at least one of the Defendants is incorporated or does business.

        5.      Venue is proper in this judicial district under 28 U.S.C. §1391 because the

Defendants do business throughout this district and a substantial part of the events or omissions

giving rise to Plaintiff's claims occurred in this district. At all times material hereto, Defendants

were and are in the business of providing services through general acute care hospitals in

Pennsylvania, this judicial district, and in 28 other states, by and through various hospitals

operated through subsidiary companies.

                                  SUMMARY OF THE CASE

        6.      This is a consumer class action lawsuit brought by Plaintiff, individually and on

behalf of all other similarly situated persons (i.e., the class members), whose personal

information (e.g., patient names, addresses, hirthdates, telephone numbers, and social security

numbers and, possibly including, patient credit card, medical or clinical infonnation) (hereinafter

"Sensitive Information") considered protected under the Health Insurance Portability and

Accountability Act ("HIPAA") entrusted to Defendants was stolen by, and/or made accessible to,

hackers and identity thieves.


                                                 2
        Case 2:15-cv-00280-KOB Document 1 Filed 11/07/14 Page 6 of 25




       7.      As a result of Defendants' failure to implement and follow basic security

procedures, Plaintiffs Sensitive Infonnation is now in the hands of third parties who are using it

to Plaintiffs detriment. As a result, Plaintiff has experienced identity theft, and has had to deal

with, at least, the following ramifications:

               a.      Third parties have hacked into Plaintiff's email, changed his passwords

 repeatedly, and used Plaintiff's email account to identify his financial assets and credit accounts

 and have further used it to communicate with financial institutions and others to set up new

 accounts in Plaintiff's name;

                b.     Having read Plaintiffs email correspondence, these parties have made

 illegal charges in Plaintiffs name in excess of$40,000; and

                c.     These parties have attempted to open at least two different foreign

 exchange accounts in Plaintiff's name.

       8.      To address these activities, Plaintiff has already spent a significant amount of time

calling and corresponding with his email provider, credit card issuers, banks, financial

institutions involved in foreign currency exchange, local police, the office of Social Security, Pay

Pal, the Internal Revenue Service, credit reporting agencies, and Chex Systems. Plaintiff has

also been in touch with elected officials, trying to regain control of his identity.       In some

instances, Plaintiff has expended his own funds to address this quagmire.

       9.      Plaintiff faces an ongoing, substantial increased risk of additional ramifications

from his identity theft, like all members of the proposed class. Consequently, Defendants'

patients and fonner patients, like Plaintiff, will have to spend significant time and money to

protect themselves for years to come.




                                                 3
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        1O.    Additionally, as a result of Defondants' failure to follow contractually-agreed

upon, federally-prescribed, industry standard security procedures, Plaintiff received only a

diminished value of the services he paid Defendants to provide. Plaintiff contracted for services

that included a !:,TUarantee by Defendants to safe&TUard his personal information and, instead,

Plaintiff received services devoid of these very important protections. Accordingly, Plaintiff

alleges claims for breach of contract, breach of implied contract, breach of implied covenant of

good faith and fair dealing, unjust enrichment, money had and received, negligence, negligence

per se, wantonness, invasion of privacy, and violations of the Fair Credit Reporting Act, 15

U.S.C. § 1681 (hereinafter "FCRA").

                             FACT COMMON TO ALL COUNTS

        11.    Plaintiff and proposed class members are patients and customers of Defendants'

hospitals.

        12.    In the regular course ofbusiness, Defendants collect and maintain possession,

custody, and control of a wide variety of Plaintiffs Sensitive Information, including, but not

limited to patient credit card, medical or clinical infonnation and history, patient names,

addresses, birthdates, telephone numbers and social security numbers.

        13.    Plaintiff and Defendants agreed that, as part of the services provided to Plaintiffs,

Defendants would protect Plaintiffs Sensitive Information.

       14.     This agreement to protect Plaintiffs Sensitive Information was a value added to

the services provided by Defendants that was considered a benefit of the bargain for which

Plaintiff paid adequate consideration.

       15.     Upon information and belief, a portion of the consideration paid by Plaintiff was

accepted and rendered proceeds by Defendants that was allocated to protecting and securing

                                                 4
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Sensitive Infonnation and ensuring HIP AA compliance. This allocation was made for the

purpose of offering patients and customers, such as Plaintiff, to add value to the services

provided by agreeing to protect Sensitive Infonnation.

        16.    Defendants stored Plaintiffs Sensitive Information in an unprotected, unguarded,

unsecured, and/or otherwise unreasonably protected electronic and/or physical location.

        17.    Defendants did not adequately encrypt, if at all, Plaintiffs Sensitive lnfonnation.

        18.    Defendants did not provide adequate security measures to protect Plaintiffs

Sensitive information.

        19.    In or around April 2014 and June 2014, an "Advanced Persistent Threat" group

originating from China accessed, copied, and transferred Plaintiffs Sensitive Information from

Defendants.

       20.     Upon information and belief, this "Advanced Persistent Threat" group has
                                                                   '
typically sought valuable inteJlectual property, such as medical device and equipment

development data.

       21.     CHS claims to have "confirmed that this data did not incJude patient credit card,

medical or clinical information" but the data accessed, copied, and transferred did include

Plaintiffs information that is "'considered protected under the Health Insurance Portability and

Accountability Act C'HIP AA") because it includes patient names, addresses, birthdates,

telephone numbers and social security numbers."

       22.     On or about August 18, 2014, CHS filed a Fonn 8-K with the United States

Securities and Exchange Commission that provided the first notification of the data breach. This

filing stated that the data breach "affected approximately 4.5 million individuals." This filing also

states that those who are affected were provided services by CHS within the last five years.


                                                 5
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        23.    Defendants designed and implemented their policies and procedures regarding the

security of protected health information and Sensitive Information. These policies and

procedures failed to adhere to reasonable and best industry practices in safeguarding protected

health information and other Sensitive Infonnation. Upon information and belief: Defendants

failed to encrypt, or adequately encrypt, Plaintiffs' Sensitive Information.

        24.    By failing to fulfill their promise to protect Plaintiff's Sensitive Information,

Defendants have deprived Plaintiff of the benefit of the bargain. As a result, Defendants· cannot

equitably retain payment from Plaintiff-part of which was intended to pay for the administrative

costs of data security-because Defendants did not properly secure Plaintiffs information and

data.

                               CLASS ACTION ALLEGAIIONS

        25.    Plaintiff brings this action pursuant to Fed. R. Civ. P. 23(b)(2) and (3) on behalf

of themselves and a Class and subclasses defined as follows:

        26.    The Class: Plaintiff bring this action on behalf of himself and a Class of similarly

situated individuals, defined as follows:

               All individuals in the United States who are current or former
               customers/patients of CHS and whose Sensitive Information was
               wrongfully accessed, copied, and transferred in the months on or
               about April 2014 and June2014.

        27.    The Pennsylvania Subclass: Plaintiff brings this action on behalf of himself and

a subclass of similarly situated individuals, defined as follows:

               All individuals who reside in Pennsylvania who are current or
               former customers/patients of CHS and whose Sensitive
               Information was wrongfully accessed, copied, and transferred in
               the months on or about April 2014 and June 2014.




                                                  6
        Case 2:15-cv-00280-KOB Document 1 Filed 11/07/14 Page 10 of 25




Excluded from the Class and Subclass are (1) any judge presiding over this action and members

of their families; (ii) Defendants, Defendants' subsidiaries, parents successors, predecessors, and

any entity in which Defendant or its parents have a controlling interest and their current or

former employees, oflicers, and directors; (iii) persons who properly execute and file a timely

request for exclusion from the Classes; and (iv) the legal representatives, successors, or assigns

of any such excluded persons, as well as any individual who contributed to the unauthorized

access of the data stored by Defendants.

        28.    Numerosity. Members of the Class and Subc1ass are so numerous that their

individual joinder herein is impracticable. Although the exact number of Class members and

their addresses are unknown to Plaintiff, they are readily ascertainable from Defendants' records.

Upon information and belief, there are at least 4.5 million class members. Class members may be

notified of the pendency of this action by mail and/or electronic mail, and supplemented (if

deemed necessary or appropriate by the Court) by published notice.

       29.     Tvpicality. Plaintiff's c1aims are typical of the Classes because Plaintiff and the

Classes sustained damages as a result of Defendants' uniform \\'Tongful conduct during

transactions with plaintiff and the Classes.

       30.     Adeguacy. Plaintiff is an adequate representative of the Class and Subclass

because his interests do not conflict with the interests of the members of the Class they seek to

represent. Plaintiff has retained counsel competent and experienced in class action litigation, and

Plaintiff intends to prosecute this action vigorously. The interest of members of the Class and

Subc1ass will be treated fairly and adequately protected by Plaintiff and his counsel.

       31.     Predominance and Superiority; This class action is appropriate for certification

because class proceedings are superior to all other available methods for the fair and efficient

                                                 7
        Case 2:15-cv-00280-KOB Document 1 Filed 11/07/14 Page 11 of 25




adjudication of this controversy and joinder of alt members of the Class and Subclass is

impracticable. The damages suffered by the individual members of the Class and Subclass will

likely be small relative to the burden and expense of individual prosecution of the complex

litigation necessitated by Defendants' wrongful conduct. Thus, it would be virtually impossible

for the individual members of the Class and Subclass to obtain effective relief from Defondants'

misconduct. Even if members of the Class and Subclass could sustain such individual litigation,

it would not be preferable to a class action because individual litigation would increase the delay

and expense to all parties due to the complex legal and factual controversies presented in this

Complaint. By contrast, a class action presents far fewer management difficulties and provides

the benefits of single adjudication, economy of scale, and comprehensive supervision by a single

court. Economies of time, effort, and expense will be fostered and uniformity of decisions will be

ensured.

        32.        Commonality: Common questions of law and fact exist as to all members of the

Classes and predominate over any questions affecting only individual members, and include, but

are not limited to:

              a.         Whether Defendants were negligent in coJiecting, storing, and protecting

Plaintiffs and the Class members• Sensitive Information;

              b.         Whether Defendants were wanton in collecting, storing, and protecting

Plaintiffs and the Class members' Sensitive Information;

              c.         Whether Defendants took reasonable steps and measures to safeguard

Plaintiffs and Class members' Sensitive Information;




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             d.         Whether Defend ants breached their duty to exercise reasonable care in

handling Plaintiff's and Class members' Sensitive Information by storing that information in the

manner alleged herein;

              e.        Whether Defendants notified Plaintiff and the Classes of the data breach

within a reasonable amount of time;

              f.        Whether implied or express contracts existed between Defendants, on the

one hand, and Plaintiffs and the Class members on the other;

                   a.   Whether Plaintiff and members of the Class and Subclass are at an

increased risk of additional or initial identity theft or other malfeasance as a result of Defendants'

failure to protect their Sensitive Information;

                   b.   Whether Defendants stored Sensitive Information in reasonable manner

under industry standards;

                   c.   Whether protecting Plaintiffs Sensitive Information was a service

provided by Defendants;

                   d.   Whether Defendants have unlawfully retained payment from Plaintiff

because of Defendants' failure to fulfill its agreement to protect Plaintiffs Sensitive Information;

                   e.   Whether and to what extent Plaintiff and the Class and Subclass have

sustained damages.

               f.       Whether Defendants were unjustly enriched;

               g.       Whether Defendants violated the FCRA.

       33.     Plaintiff reserves the right to revise Class definitions and questions based upon

facts learned in discovery.




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                                             COUNT I
                                    UNJUST ENRICHMENT

        34.    Plaintiff adopts and re-alleges all paragraphs set forth hereinabove as is fully set

out herein.

        35.    Defendants received payment from Plaintiff to perform services that inc.luded

protecting Plaintiff's Sensitive Information.

        36.    Defendants did not protect Plaintiff's Sensitive information, but retained

Plaintiffs payments.

        37.    Defendants have knowledge of said benefit.

        38.    Defendants have been unjustly enriched and it would be inequitable for

Defendants' to retain Plaintiffs payments.

       39.     As a result, Plaintiffs have been proximately harmed and/or injured.

       WHEREFORE, Plaintiff demands judgment against Defendants jointly and severally, for

compensatory and/or punitive damages, the sum to be determined by a jury, which will fairly and

adequately compensate Plaintiff for the above described damages and injuries, together with

interest from the date of the incident and the costs of the proceeding, including attorney's tees.

                                             COUNT II
                       BREACH OF CONTRACT (~xpress and implied)

       40.     Plaintiff adopts and re-alleges all paragraphs set forth hereinabove as is fully set

out herein.

       41.     Plaintiff paid money to Defendants in exchange for hospitals services, which

included promises to protect Plaintiff's health information and Sensitive Information.




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         54.   In its written services contract, Defendants promised Plaintiff that Defendants

only disclose health information when required to do so by federal or state law. Defendant

further promised that it would protect Plaintiffs Sensitive Information.

         55.   Defendants promised to comply with all HIP AA standards and to make sure that

Plaintiffs' health information and Sensitive Information was protected.

         56.   Defendants' promises to comply with all HIP AA standard to all HIPAA standards

and to make sure that Plaintiffs health information and Sensitive Information was protected

created an implied contract.

         57.   To the extent that it was not expressed, an implied contract was created whereby

Defendants promised to safeguard Plaintiff's health information and Sensitive Information from

being accessed, copied, and transferred by third parties.

         58.   Under the implied contract, Defendants were further obligated to provide Plaintiff

with prompt and sufficient notice of any and all unauthorized access and/or theft of his Sensitive

Information.

         59.   Defendants did not safeguard Plaintiff's health information and Sensitive

Information and, therefore, breached its contract with Plaintiff.

         60.   Defendants allowed third parties to access, copy, and transfer Plaintiff's health

information and Sensitive Information and, therefore, breached its contract with Plaintiff.

         61.   Furthermore, Defendants' failure to satisfy their confidentiality and privacy

obligations resulted in Defendants' providing services to Plaintiff that were of a diminished

value.

         62.   As a result, Plaintiff has been harmed and/or injured.




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        WHEREFORE, Plaintiff demands judgment against Defendants jointly and severally, for

compensatory and/or punitive damages, the sum to be determined by a jury, which will fairly and

adequately compensate Plaintiff for the above described damages and injuries, together with

interest from the date of the incident and the costs of the proceeding, including attorney's fees.

                                             COUNT Ill
                                            NEGLIGENCE

        63.    Plaintiff adopts and re-alleges aH paragraphs set forth hereinabove as is fully set

out herein.

        64.    Defendants requested and came into possession of Plaintiff's Sensitive

Information and had a duty to exercise reasonable care in safeguarding and protecting such

information from being accessed. Defendants' duty arose from the industry standards discussed

above and its relationship with Plaintiff

        65.    Defendants had a duty to have procedures in place to detect and prevent the

improper access and misuse of Plaintiff's Sensitive Information. The breach of security,

unauthorized access, and resulting injury to Plaintiff's and the Class and Subclass were

reasonably foreseeable, particularly in light of Defendants' inadequate data security system and

failure to adequately encrypt the data.

       66.     Defendants, through their actions and/or omissions, unlawfully breached their

duty to Plaintiff by failing to implement industry protocols and exercise reasonable care in

protecting and safeguarding Plaintiff's Sensitive Information within Defendants' control.

       67.     Defendants, through their actions andior omissions, breached their duty to

Plaintiff by failing to have procedures in place to detect and prevent access to Plaintiff's

Sensitive Information by unauthorized persons.


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        68.    But for Defendants' breach of its duties, Plaintiff's Sensitive Information would

not have been compromised.

        69.    Plaintiffs Sensitive Information was stolen and accessed as the proximate result

of Defendants failing to exercise reasonable care in safeguarding such infonnation by adopting,

implementing, and maintaining appropriate security measures and encryption.

        70.    As a result, Plaintiff has been harmed and/or injured.

        WHEREFORE, Plaintiff demands judgment against Defendants jointly and severally, for

compensatory and/or punitive damages, the sum to be determined by a jury, which will fairly and

adequately compensate Plaintiff for the above described damages and injuries, together with

interest from the date of the incident and the costs of the proceeding, including attorney's fees.

                                            COUNT IV
                                     NEGLIGENCE PER SE

        71.    Plaintiff adopts and re-alleges all paragraphs set forth hereinabove as is fully set

out herein.

       72.     Defendants' violation of HIPAA resulted in an injury to Plaintiff.

       73.     Plaintiff falls within the class of persons HIP AA was intended to protect.

       74.     The harms Defendant caused to Plaintiff are injuries that result from the type of

behavior that HIPAA was intended to protect.

       75.     As a result, Plaintiff has been banned and/or injured.

       WHEREFORE, Plaintiff demands judgment against Defendants jointly and severally, for

compensatory and/or punitive damages, the sum to be detennined by a jury, which will fairly and

adequately compensate Plaintiff for the above described damages and injuries, together with

interest from the date of the incident and the costs of the proceeding, including attorney's foes.


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                                    COUNTV
              \VILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT

       76.      Plaintiff adopts and re-alleges all paragraphs set forth hereinabove as is fully set

out herein.

       77.      The Fair Credit Reporting Act ("FCRA") requires consumer reporting

agencies to adopt and maintain procedures for meeting the needs of commerce for consumer

credit, personnel, insurance and other information in a manner fair and equitable to consumers

while maintaining the confidentiality, accuracy, relevancy and proper utilization of such

information. 15 U.S.C. § 1681(b).

       78.      FCRA specifically protects medical information, restricting its dissemination to

limited instances. See, e.g., 15 U.S.C. §§ 1681a(d)(3); 168lb(g); 168lc(a)(6).

       79.      Defendants are a Consumer Reporting Agency as defined under FCRA because

on a cooperative nonprofit basis and/or for monetary fees, Defendants regularly engage, in whole

or in part, in the practice of assembling information on consumers for the purpose of furnishing

Consumer Reports to third parties and/or uses interstate commerce for the purpose of preparing

and/or furnishing Consumer Reports.

       80.      As a Consumer Reporting Agency, Defendants were (and continue to be) required

to adopt and maintain procedures designed. to protect and limit the dissemination of consumer

credit, personnel, insurance and otheiinformation (such as Plaintiffs' and Class Members'

Sensitive Information) in a manner fair and equitable to consumers while maintaining the

confidentiality, accuracy, relevancy and proper utilization of such information. Defendants,

however, violated FCRA by failing to adopt and maintain such protective procedures which, in

tum, directly and/or proximately resulted in the theft of Plaintiff's Sensitive Information

and its wrongful dissemination into the public domain.
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        81.     Plaintiff's Sensitive Infonnation, in whole or in part, constitutes medical

infonnation as defined by FCRA. Defondants violated FCRA by failing to specifically protect

and limit the dissemination of Plaintiff's Sensitive Information into the public domain.

        82.     As a direct and/or proximate result of Defondants' willful and/or reckless

violations of FCRA, as described above, Plaintiff's Sensitive Information was stolen and/or

made accessible to unauthorized third parties in the public domain.

        83.     As a direct and/or proximate result of Defondants' willful and/or re-ckless

violations ofFCRA, as described above, Plaintiff was (and continues to be) damaged in the form

of, without limitation, expenses for credit monitoring and identity theft insurance, out-of-pocket

expenses, anxiety, emotional distress, loss of privacy and other economic and non-economic

harm.

        84.     Plaintiff and Class Members, therefore, are entitled to compensation for their

actual damages including, inter alia, (i) out-of-pocket expenses incurred to mitigate the increased

experience and further risk of identity theft and/or identity fraud pressed upon them by the Data

Breach; (ii) the value of his time spent mitigating identity theft and/or identity fraud and/or the

increased risk of identity theft and/or identity fraud; (iii) deprivation of the value of his Sensitive

Information, for which there is a well-established national and international market; (iv) anxiety

and emotional distress; and (v) statutory damages of not less than $100, and not more than

$1000. each, as well as attorneys' fees, litigation expenses and costs, pursuant to 15 U .S.C. §

1681n(a).

        WHEREFORE, Plaintiff demands judgment against Defendants jointly and severally, for

compensatory and/or punitive damages, the sum to be determined by a jury, which wil1 fairly and




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adequately compensate Plaintiff for the above described damages and injuries, together with

interest from the date of the incident and the costs of the proceeding, including attorney's fees.

                                            COUNT VI
         NEGLIGf;NT VIOLATION OF TUE FAIR CREDIT REPORTING ACT

       85.     Plaintiffs adopt and re-allege all paragraphs set forth hereinabove as is fully set

out herein.

       86.     In the alternative, and as described above, Defendants negligently violated FCRA

by failing to adopt and maintain procedures designed to protect and limit the dissemination of

Plaintiffs Sensitive Information for the permissible purposes outlined by FCRA which, in turn,

directly and/or proximately resulted in the theft and dissemination of Plaintiff's Sensitive

Information into the public domain.

       87.     It was reasonably foreseeable that Defendants' failure to implement and maintain

procedures to protect and secure Plaintiffs Sensitive Information would result in an

unauthorized third party gaining access to Plaintiffs Sensitive Information for no permissible

purpose under FCRA.

       88.     As a direct and/or proximate result of Defendants' negligent violations of FCRA,

as described above, Plaintiffs Sensitive Infom1ation was stolen and/or made accessibleto

unauthorized third parties in the public domain.

       89.     As a direct and/or proximate result of Defendants' negligent violations of

FCRA, as described above, Plaintiff was (and continues to be) damaged in the fonn of, without

limitation, expenses for credit monitoring and identity theft insurance, out-of-pocket expenses,

anxiety, emotional distress, loss of privacy and other economic and non-economic harm.

       90.     Plaintiff and Class Members, therefore, are entitled to compensation for their

actual damages including, inter alia, (i) out~of-pocket expenses incurred to mitigate the increased
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risk of identity theft and/or identity fraud pressed upon them by the Data Breach; (ii) the value of

their time spent mitigating identity theft and/or identity fraud and/or the increased risk of identity

theft and/or identity fraud; (iii) deprivation of the value of their Sensitive Information, for which

there is a well-established national and international market; (iv) anxiety and emotional distress;

and (v) statutory damages of not less than $100, and not more than $I 000, each, as well as

attorneys' tees, litigation expenses and costs, pursuant to 15 U.S.C. § 168ln(a).

       WHEREFORE, Plaintiff demands judgment against Defendants jointly and severally, for

compensatory and/or punitive damages, the sum to be determined by a jury, which will fairly and

adequately compensate Plaintiff for the above described damages and injuries, together with

interest from the date of the incident and the costs of the proceeding, including attorney's fees.

                                            COUNT VII

     VIOLATIONS OF THE PENNSYLVANIA UNFAIR TRADE PRACTICES AND
                     CONSUMER PROTECTION LAW
                             73 P.S. §§201-1, et seq.
              (On Behalf of Plaintiff and the Pennsylvania Subclass)

       91.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       92.     The Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73 P.S.

§§201-1, et seq., (UTPCPL) protects consumers from, among other things, unconscionable

commercial practices, deception, fraud, false promises, false pretenses, and misrepresentations.

       93.     Community Health is a ••person" as defined in Section 201-2(2) of the UTPCPL.

       94.     Community Health is/was engaged in ••trade" and      '"commerce~'   as defined by

Section 201-2(3) of the UTPCPL.

       95.     As described herein, Community Health has engaged in unlawful and/or

deceptive conduct.



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        96.     Through its Notice of Privacy Practices, patient agreements, and security

representations made on its websites, Community Health represented to Plaintiff and the

Pennsylvania Subclass that it would, inter alia, protect their Sensitive Information, maintain the

privacy of their Sensitive Information, follow the terms of the Notice of Privacy Practices in

protecting their Sensitive Information, and comply with HJPAA and other federal and state law

requirements.

        97.     Community Health's privacy and security promises were, in fact, false.

Community Health did not maintain an adequate electronic security system to prevent data

breaches, employ industry standard and commercially reasonable measures to protect its

patients' Sensitive Information and mitigate the risks of any data breach or otherwise comply

with the data security requirements of HIP AA regulations, as promulgated under 45 CFR 164.

Thus, Community Health's representations to Plaintiff and members of the Pennsylvania

Subclass were false when made.

        98.     Knowing that consumers were less likely to do business with companies that fail

to adequately protect their Sensitive Information, Community Health made the false privacy and

security representations with the intention that Plaintiff and the Pennsylvania Subclass members

would rely on them in contracting with Community Health for medical services.

        99.     Because ordinary consumers lacked access to Community Health's proprietary

information regarding its true privacy and security measures prior to the April and June 2014

breach, Community Health's false security and privacy representations were likely to deceive

consumers who had no other resource for assessing Community Health's privacy and security

practices.




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          ] 00.    Had Community Health disclosed its true security practices - which did not

comply with state and federal law - Plaintiff and the Pennsylvania Subclass would have paid

substantially less for Community Health's health care services or would not have paid at all (i.e.

the value of health care services without adequate protection of Sensitive Information is worth

substantially less than the value of such services with adequate protection).

          l 0 l.   Community Health's deceptive and misleading actions were perpetuated while

providing health care-related services to its patients, and therefore occurred during the course of

its business practices.

        l 02.      Accordingly, and pursuant to 73 P.S. § 201-9.2(a), Plaintiff, on behalf of himself

and the Pennsylvania Subclass, seeks (i) injunctive and equitable relief as is necessary to protect

the interests of Plaintiff and the Pennsylvania Subclass; (ii) actual damages or statutory damages

of one hundred dollars ($100), whichever is greater; and (iii) reasonable costs and attorneys'

fees.

                                                COUNT IX

                                               BAILMENT

          103.     Plaintiff incorporates the foregoing alJegations as if fully set forth herein.

          104.     Plaintiff and members of the Class and Subclass delivered their Sensitive

Information to Defendants for the exclusive purpose of contracting for and receiving health care

services from or through Defendants.

          105.     In delivering this Sensitive Information to Defendants, Plaintiff and members of

the Class and Sublcass intended and understood that Defendants would adequately safeguard

their Sensitive Information as required by, inter alia, their contracts and HIP AA.




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        I 06.   Defendants accepted possession of this Sensitive Information for the purpose of

accepting payrnent and providing health care services to Plaintiff and members of the Class and

Subclass.

        107.    By accepting possession of Plaintiffs' and Class and Subclass members' Sensitive

Information, Target understood that Plaintiffs and members of the Class and Subclass expected

Defendants to adequately safeguard their Sensitive Information. Accordingly, a bailment (or

deposit) was established for the mutual benefit of the parties.

        I 08.   During the bailment (or deposit), Defendants owed a duty to Plaintiff and

members of the Class and Subclass to exercise reasonable care, diligence and prudence in

protecting their Sensitive Information.

        109.    Defendants breached their duties of care by failing to take appropriate measures to

safeguard and protect the Sensitive Information of Plaintiff and members of the Class and

Subclass, resulting in the unlawful and unauthorized access to and misuse of that information.

       110.     As a direct and proximate result of Defendants' breach of their duties, Plaintiff

and members of the Class and Subclass suffered consequential damages that were reasonably

foreseeable to Defendants, including but not limited to the damages set forth above.

       111.     As a direct and proximate result of Defendants' breach of their duties, the

Sensitive Information of Plaintiff and members of the Class and Subclass entrusted to

Defendants during the bailment (or deposit) was damaged and its value diminished.

       WHEREFORE, Plaintiff demands judgment against Defendants jointly and severally, for

compensatory and/or punitive damages, the sum to be determined by ajury, which will fairly and

adequately compensate Plaintiff for the above described damages and injuries, together with

interest from the date of the incident and the costs of the proceeding, including attorney's fees.


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                                      RELIEF REQUESTED

        112.    Certify this case as a class action on behalf of the Class and Subclass as defined

above, and appoint named Plaintiff as class representative and undersigned counsel as lead

counsel;

        113.   Find that Defendants are liable under all legal claims asserted herein for their

failure to safeguard Plaintiff's and Class members' Sensitive Information;

        114.    Award injunctive and other equitable reliefas is necessary to protect the interests

of the C1asses, including: (i) an order prohibiting Defendants from engaging in the wrongful and

unlawful acts described herein, and (ii) requiring Defendants to protect all data collected through

the course of its business in accordance with HIP AA and industry standards, (iii) consumer

credit protection and monitoring services for Plaintiff; and (iv) consumer credit insurance to

provide coverage for unauthorized use of Plaintiffs personal information, medical information,

and financial information;

        115.   Award damages, including statutory damages where applicable and punitive

damages, to Plaintiff and the Classes in an amount to be determined at trial;

        116.   Award restitution for any identity theft, including, but not limited to payment of

any other costs, including attorneys' fees incurred by the victim in clearing the victim's credit

history or credit rating, or any costs incurred in connection with any civil or administrative

proceeding to satisfy any debt, lien, or other obligation of the victim arising as the result of

Defendants' actions;

       117.    Award restitution in an amount to be determined by an accounting of the

difference between the price Plaintiff and the Class and Subclass paid in reliance upon




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Defendants' duty/promise to secure its members' Sensitive Information, and the actual

services--devoid of proper protection mechanisms-rendered by Defendants;

          118.   Declare that Community Health's actions, as described above, constitute (i)

violations of the Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73 P.S. §§

201-1 et seq..

          119.   Award Plaintiff and the Class and Subclass their reasonable litigation expenses

and attorneys' fees;

          120.   Award Plaintiffs and the Class and Subclass pre and post-judgment interest to the

maximum extent allowable by law; and

          121.   Award such other and further legal or equitable relief as equity and justice may

reqmre.

                                         JURY DEMAND

       Plaintiffs demand a jury trial on all issues that can be so tried.


Dated: November 7, 2014                                RespectfuHy submitted,

                                                       GOLDMAN SCARLATO & PENNY, P.C.


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